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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,
v.                                           Case No.: 8:22-cv-1622-TPB-JSS

NEELAM TANEJA UPPAL, M.D.,

      Defendant.
___________________________________/


     VOLUNTARY DISMISSAL OF NOTICE OF APPEAL AND APPEAL
          Neelam Uppal, by and through undersigned counsel, hereby voluntarily

dismisses her pro se notice of appeal (Doc 53) and the resulting appeal without

prejudice pursuant to Fed.R.App.P. 1(a)(2) and Fed.R.Civ.P. 41(a)(1)(A)(i). Dr. Uppal

has given undersigned counsel written authorization to file this Voluntary

Dismissal.


Dated: June 12, 2023                         Respectfully submitted,


                                             /s/ Kevin Darken
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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was

served this 12th day of June, 2023 on all counsel of record via the CM/ECF

electronic filing system.

                                          /s/ Kevin Darken
                                          KEVIN DARKEN




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